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                IN THE UNITED STATES DISTRICT COURT

                                 DISTRICT OF UTAH


 UNITED STATES OF AMERICA,                Case No. 2:24mj48 JCB

                    Plaintiff,            CRIMINAL COMPLAINT

        vs.                                      49 U.S.C. § 46504 [Interference
                                                 with a Flight Crew]
 DARNEL SILVER COLLINS,
                                                 49 U.S.C. § 46506 and 18
                    Defendant.                   U.S.C. § 113(a)(4) [Assault by
                                                 Striking, Beating, and
                                                 Wounding in the Special
                                                 Aircraft Jurisdiction of The
                                                 United States]


                                          Magistrate Judge Jared C. Bennett




      Before a United States Magistrate Judge for the District of Utah, appeared

the undersigned, who on oath deposes and says:
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                                      COUNT 1

                                  49 U.S.C. § 46504
                          (Interference with a Flight Crew)

      On or about January 21, 2024, in the District of Utah and elsewhere,

                           DARNEL SILVER COLLINS,

the Defendant herein, in the special aircraft jurisdiction of the United States as

defined in 49 U.S.C. § 46501(2), did assault and intimidate flight attendants and

crew members of an aircraft, thereby interfering with the performance of the duties

of the flight attendants and crew members and lessening the ability of the flight

attendants and crew members to perform those duties, all in violation of and

punishable under 49 U.S.C. § 46504.



                                      COUNT 2

                               18 U.S.C. § 113(a)(4)
                   (Assault by Striking, Beating, and Wounding)


      On or about January 21, 2024, in the District of Utah and elsewhere,

                           DARNEL SILVER COLLINS,

the Defendant herein, did, in the special aircraft jurisdiction of the United States as

defined in 49 U.S.C. § 46501(2), commit assault by striking, beating and wounding
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Passenger 3, all in violation of 49 U.S.C. § 46506(1) and 18 U.S.C. § 113(a)(4),

and punishable thereunder.

                                        ***

      Complainant states that this complaint is based on information obtained

through investigation consisting of the following:

      I, Kylie Ruiz, being first duly sworn, depose and say:

      1. I am a 17-year law enforcement officer and have 15 years’ experience as

a patrol officer for the Salt Lake City Police Department. I am currently assigned

to the Airport Investigations Division and have served with them on multiple

occasions over my career. I am also a Deputized Task Force Officer with the

Federal Joint Terrorism Task Force and serve as one of two Airport Liaison Agents

at the Salt Lake City International Airport. I have taken several investigation

courses and completed hundreds of cases resulting in successful convictions both

on the patrol and investigations sides. As a federal Task Force Officer, I am

authorized to investigate violations of the law of the United States and have

authority to execute arrest and search warrants issued under the authority of the

United States.

      2.     The statements in this affidavit are based, in part, on an investigation

conducted by myself and/or communicated to me by other law enforcement

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officers, other investigators with knowledge of this investigation, and witnesses

who observed the incident. Since this affidavit is being submitted for the limited

purpose of securing an arrest warrant, I have not included every fact known to me

concerning this investigation. Rather, I have set forth facts sufficient to establish

probable cause for the complaint.

      3. On or about January 21, 2024, an aircraft arrived at Salt Lake City

International Airport with reports of an unruly and abusive male passenger. The

passenger, who was later identified as DARNEL SILVER COLLINS, a citizen or

national of the Netherlands and a resident of the United States, had to be restrained

by flight attendants and passengers due to his actions.

      4. Delta Airlines flight #57 originated from Amsterdam Airport Schiphol in

the Netherlands and was en route to Salt Lake City, United States of America.

Witness statements reported that throughout the flight COLLINS was loud,

disruptive, threatening and abusive to other passengers and to crew members.

      5. Approximately 1 hour into the flight, Passenger 1 observed a commotion

involving COLLINS, who he recognized from prior observation at the airport,

several rows in front of him. Passenger 1 offered to assist with COLLINS.

COLLINS was loud and disruptive to passengers around him which included

tapping passengers. Throughout the flight, his behavior escalated. During the

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flight, he began to follow another passenger, Passenger 2. Passenger 2 requested

assistance from the Flight Attendant for him to leave her alone. He continuously

touched Passenger 2 and eventually she physically pushed her away from him.

      6. COLLINS approached a woman, Passenger 3, as she was coming out of

the restroom. He physically grabbed onto Passenger 3’s arm and did not release her

until another passenger and/or Flight Crew intervened.

      7. Approximately 8 passengers were moved from the area around

COLLINS seat to avoid further problems. COLLINS got onto his knees and turned

around in the seat and began to speak with other passengers. This interaction

became aggressive enough at one point that Flight Attendant 1 felt as though the

altercation was going to go physical and intervened. Eventually COLLINS was

moved to the very back row of the aircraft where flight attendants had to move

another approximately 8-10 people to make room for him. Once in the back of the

aircraft, COLLINS intentionally spit on Passenger 4, striking at least two persons

with saliva.

      8. COLLINS approached Flight Attendant 2 in the aft galley area and said

“Hey B***h! Are you speaking up now?” Flight Attendant 2 told him to sit back in

his seat. She felt unsafe but was grateful there was a cart between them because if

not, she felt he could have reached out to her.

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       9. COLLINS continued to touch passengers as they walked by and even the

passenger two rows in front of him. Due to this continued unwanted touching of

other passengers, COLLINS was physically restrained in flexicuffs by flight crew.

Collins continued to unbuckle his seatbelt and stand up and cause problems even

after being restrained to the point where three seat belt extenders were connected

together to put around his mid-section to keep him seated for the remainder of the

flight (approximately 2 hours).

       10. Flight crew were unable to complete all duties they usually do. They

had to check on COLLINS more than other passengers and also had to make sure

someone was with him for approximately 9 hours of the 10-hour flight. The Purser

was not available to perform his normal duties after approximately halfway

through the flight and remained in the back assisting with the care of COLLINS

leaving one flight attendant to care for two sections alone. During this time,

COLLINS continuously touched and grabbed the arm of the Purser. Many flight

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attendants reported feeling unsettled, and unsafe.


                                              /s/    Kylie Ruiz
                                              KYLIE RUIZ
                                              Task Force Officer
                                              Federal Bureau of Investigation

              SUBSCRIBED AND SWORN TO BEFORE ME this _22nd day of
        January, 2024.


        ________________________________
        JARED C. BENNETT
        United States Magistrate Judge

APPROVED:

TRINA A. HIGGINS
UNITED STATES ATTORNEY
/s/   Michael Kennedy
________________________
MICHAEL KENNEDY
Assistant United States Attorney




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